    Case 1:04-cr-00189-RJA-LGF       Document 353      Filed 03/10/06    Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


                                                                    ORDER
             v.                                                   04-CR-189A

RONNIE FUNDERBUNK,
                                  Defendant.




             Currently before the Court is a motion filed by defendant Ronnie

Funderbunk for an enlargement of time to April 10, 2006 to file objections to the Report

and Recommendation of Magistrate Judge Leslie G. Foschio filed February 24, 2006

and to submit his memorandum of law in support of his appeal of Magistrate Judge

Leslie G. Foschio's February 24, 2006 Decision and Order. Counsel for the defendant

has advised that the government has no objection to the extension of time.

             The Court hereby grants defendant’s motion for an extension until April

10, 2006 to file objections to the Report and Recommendation and to submit his

memorandum of law in support of his appeal of Magistrate Judge Foschio's February

24, 2006 Decision and Order.

             The delay until April 10, 2006 is excluded from the Speedy Trial Act

computations pursuant to 18 U.S.C. § 3161(h)(1)(F). Further, the Court finds that the

delay should be excluded pursuant to 18 U.S.C. § 3161(h)(1)(8)(A), because the ends

of justice served by such a continuance outweigh the best interest of the public and the

defendant in a speedy trial. Such an adjournment will provide the defendant with an
    Case 1:04-cr-00189-RJA-LGF             Document 353   Filed 03/10/06   Page 2 of 2




adequate opportunity to prepare objections to the Report and Recommendation and to

appeal the Decision and Order, and at the same time, is not so long as to unduly delay

the public’s interest in a speedy trial.



       IT IS SO ORDERED.


                                             s/ Richard J. Arcara
                                             HONORABLE RICHARD J. ARCARA
                                             CHIEF JUDGE
                                             UNITED STATES DISTRICT COURT

DATED: March 10, 2006




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